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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION

 EMILY SANDERLIN,

                        Plaintiff,              Civil Action No._____________________

 v.
                                                CLASS ACTION COMPLAINT AND JURY
 WALMART, INC.,                                 DEMAND

                        Defendant.

                                CLASS ACTION COMPLAINT

        Plaintiff Emily Sanderlin brings this class action lawsuit on behalf of herself and others

similarly situated against Defendant Walmart, Inc. (“Defendant”).

                                       INTRODUCTION

        1.     Plaintiff brings these claims to redress the economic harms caused by Defendant’s

sale of acne treatment drug products containing benzoyl peroxide (“BPO”) without warning

consumers that (1) the BPO in the products is at high risk of degrading, and in fact degrades, into

benzene under normal use, handling, and storage conditions, and (2) said products contain

benzene, which is a well-known human carcinogen.

        2.     Defendant, Walmart Inc. (“Walmart”), is a leading seller of consumer health

products, including products to treat acne. It sells acne products under its brand Equate. Equate

brand products which the Defendant sells to the public as a treatment for acne vulgaris are

formulated with BPO, along with other inactive ingredients. Before being sold to the public, the

products must be made in conformity with current good manufacturing practices and must conform

to quality, safety, and purity specifications. The Defendant’s acne products (“BPO Products”) did

not.

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       3.      All the BPO Products sold by the Defendant decompose into benzene rendering

them materially different than advertised in that they contain unsafe levels of benzene. The

Products should not contain benzene, nor degrade into benzene, except under extraordinary

circumstances.1

       4.      All the BPO Products sold by the Defendant decompose into benzene rendering

them materially different than advertised in that they contain unsafe levels of benzene.

       5.      Benzene is a known human carcinogen. There is a well-established consensus

within the medical and scientific community that benzene exposure, even in low amounts,

increases the risk of blood cancers and other adverse effects.

       6.      In 2023, Valisure, LLC (an independent, accredited laboratory that has developed

analytical methods for testing consumer products for public safety) tested a representative sample

of BPO and non-BPO products and found that the products formulated with BPO had dangerous

levels of benzene, many multiple times higher than allowed.2 Valisure tested the BPO Products at

temperatures common during consumer use, handling, and storage.3 Valisure’s testing revealed

benzene levels as high as 1600 parts per million (ppm).4 Even more concerning, Valisure also

found that benzene was released into the surrounding air even when the BPO Products’ packaging

was closed, raising concerns for inhalation exposure.




1
   See Food and Drug Administration, Q3C – Tables and List Guidance for Industry at p. 5,
https://www.fda.gov/media/71737/download (“Solvents in Class 1 (Table 1) should not be
employed in the manufacture of drug substances, excipients, and drug products because of their
unacceptable toxicity or their deleterious environmental effect. However, if their use is
unavoidable in order to produce a drug product with a significant therapeutic advance, then their
levels should be restricted as shown in Table 1, unless otherwise justified.”). Per the FDA’s
guidance, the amount of benzene in a product should be less than 2 parts per million. Id.
2
  Valisure’s FDA Citizen’s Petition on Benzoyl Peroxide (March 6, 2024).
3
  Id.
4
  Id. at 17.
                                                 2
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          7.    In the non-BPO products tested by Valisure, benzene was not present, even at trace

levels.

          8.    As a result of the testing, Valisure filed a FDA citizen’s petition on March 5, 2024,

demanding an immediate recall of products containing BPO.

          9.    The high levels of benzene found in BPO acne treatment products as well as

research in academic literature dating back to 1936 demonstrating that BPO can degrade directly

into benzene, led Valisure to conduct a stability study on a diverse market sweep of BPO products

and formulations.

          10.   Valisure tested 66 acne treatment products containing BPO, including Walmart’s

Equate acne wash, incubating them at 50°C5 for 18 days, and measuring the benzene levels at days

0, 4, 10, 14, and 18. Every product demonstrated substantial instability of BPO and a propensity

to form concerningly high levels of benzene in only 18 days. It follows that the BPO Products

Walmart sold under its Equate brand to the Plaintiff and proposed Class Members have degraded

into benzene, and that these BPO Products contain unsafe amounts of benzene.

          11.   Despite the fact that the BPO Products contain high levels of benzene, Defendant

has never listed benzene among the ingredients or anywhere on the BPO Products’ labels,

containers, advertising or on its websites. Defendant never even warned that the BPO Products

were at risk of benzene contamination. This is, of course, unsurprising, as such a disclosure would

have devastated the sales of the Products.

          12.   Defendant, as the developer, maker, distributor, or seller of the BPO Products, knew




5
  Valisure notes that 50°C is “not only a reasonable temperature that the product may be exposed
to during distribution and handling by consumers but is an accepted incubation temperature used
by the pharmaceutical industry for performing accelerated stability studies with a duration of at
least 3 months.” Citizen Petition at 18-19 (internal citations and quotations omitted).
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or should have known that the BPO Products contain and/or degraded into benzene when exposed

to expected consumer use, handling, and storage conditions. Though not commonly known or

understood by consumers, such as Plaintiff, BPO has long been known and understood within the

scientific community to degrade into benzene.6

       13.     Defendant knew or should have known that the BPO in the acne products it sold to

the Plaintiff and Proposed Class under the Equate brand would degrade into benzene.

       14.     Defendant misled Plaintiff and Proposed Class by representing the BPO Products

only had the ingredients listed and—by omission—did not contain benzene.

       15.     Defendant also misled Plaintiff and Proposed Class by representing the BPO

Products were safe while concealing material health and safety information known to them,

primarily that the BPO Products either contained benzene or would degrade to benzene under

normal consumer conditions.

       16.     Defendant further misled Plaintiff and Proposed Class by giving the BPO Products

long expiration dates of 2-3 years, affirming to consumers that the BPO Products were safe for use

for years, when Defendant knew or should have known that the BPO in the products would degrade

into benzene far sooner than that.

       17.     Defendant’s statements and omissions of material health and safety information

unreasonably placed Plaintiff and Proposed Class at risk of exposure to benzene without their

knowledge and consent. Defendant’s statements about the BPO Products were not only false and

misleading, but they were also blatantly and intentionally deceptive.

       18.     As a result of Defendant’s misconduct and consumer deception, the Plaintiff and



6
  Erlenmeyer, H. and Schoenauer, W. (1936), Über die thermische Zersetzung von Di-acyl-
peroxyden.         HCA,        19:       338-342.      https://doi.org/10.1002/hlca.19360190153
(https://onlinelibrary.wiley.com/doi/10.1002/hlca.19360190153)
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Proposed Class have been economically harmed, as they purchased a product—one containing a

deadly human carcinogen—that they otherwise would never have purchased.

       19.     This Class Action is necessary to redress harms caused to Plaintiff and members of

the Proposed Class, each of whom bought the BPO Products for personal use believing them to be

safe and only containing the ingredients listed on the BPO Products’ labels, containers,

advertisement, and on Defendant’s websites. This Class Action is further necessary to expose

Defendant’s ongoing consumer fraud and to enjoin Defendant from continuing its misconduct and

deception to protect the public.

       20.     Plaintiff brings this Class Action on behalf of herself, and on behalf of those

similarly situated, and seeks to represent a Class of Consumers who purchased Defendant’s BPO

Products in South Carolina. Plaintiff seeks damages, reasonable attorneys’ fees and costs, interest,

restitution, other equitable relief, including an injunction and disgorgement of all benefits and

profits Defendant received through its misconduct.

       21.     Throughout this Complaint, references to federal law and FDA regulation are

merely to provide context and are not intended to raise a question of law. All claims alleged in this

Complaint arise out of violations of state law, which in no way conflict, interfere with, or impose

obligations that are materially different than those imposed by federal law.

                                             PARTIES

       22.     Plaintiff Emily Sanderlin, an adult resident of Darlington County, South Carolina,

purchased the Defendant’s BPO Products in Darlington County, South Carolina for many years,

including within the last year. She has suffered economic damages as a result of Defendant’s

breaches and wrongful conduct, as alleged, including (but not limited to) its violations of the

consumer protection laws alleged herein. Plaintiff Sanderlin never would have purchased



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Defendant’s BPO Products had Defendant warned about the presence of benzene or that its

products could degrade into benzene.

       23.     Defendant Walmart, Inc. is a citizen of Delaware with its principal place of business

in Arkansas, at 702 S.W. 8th Street, Bentonville, AR 72716-0215. Defendant sells and distributes

BPO Products under the brand name Equate. At all relevant times, Walmart conducted business

and derived substantial revenue from its marketing, distributing, and selling of the BPO Products

within the State of South Carolina and in this District.

       24.     Defendant may be served via its registered agent, C T CORPORATION SYSTEM,

at this address: 2 Office Park Court Suite 103 Columbia, South Carolina 29223.

       25.      Defendant and its agents promoted, marketed, and sold the BPO Products in South

Carolina and in this District. The unfair, unlawful, deceptive, and misleading advertising and

labeling of the BPO Products were prepared and/or approved by Defendant and its agents and were

disseminated by Defendant and its agents through labeling and advertising containing the

misrepresentations alleged and disseminated uniformly through advertising, packaging,

containers, websites, and social media.

                                 JURISDICTION AND VENUE

       26.     This Court has jurisdiction over this matter because the amount in controversy

exceeds $5 million, satisfying 28 U.S.C. § 1332(d)(2) for subject matter jurisdiction. This Court

has supplemental jurisdiction over any state law claims under 28 U.S.C. § 1367.

       27.     Venue is proper in this District under 28 U.S.C. § 1391(b), because a substantial

part of the events or omissions giving rise to the claims occurred in this District, and Defendant

Walmart conducts substantial and continuous business in this District.

       28.     This Court has personal jurisdiction over the Defendant because Defendant



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Walmart transacts business in this District, has substantial aggregate contacts with the State of

South Carolina, including in this District, and engaged in the misconduct alleged in South Carolina

and in this District. That misconduct had a direct, substantial, reasonably foreseeable, and intended

effect of injuring people in South Carolina and in this District. Defendant purposely availed itself

of the benefits of doing business in South Carolina. It maintains a registered agent for service in

this State.

                                  GENERAL ALLEGATIONS

A.      Benzene Is a Deadly Carcinogen with No Safe Exposure Level.

        29.    Benzene is a carcinogen that has been among the most studied toxins over the last

100 years due to its wide use during the industrial revolution, extreme danger, and known ability

to cause cancer and death in humans and animals. The medical literature linking benzene to blood

cancers is vast dating to the 1930s.7

        30.    Benzene has no known safe level of exposure. Benzene causes central nervous

system depression and destroys bone marrow, leading to injury in the hematopoietic system. The

International Agency for Research on Cancer (“IARC”) classifies benzene as a “Group 1

Carcinogen” that causes cancer in humans, including acute myelogenous leukemia (“AML”).

AML is the signature disease for benzene exposure with rates of AML particularly high in studies

of workers exposed to benzene.




7
  See Hamilton A., Benzene (benzol) poisoning, ARCH PATHOL, (1931):434-54, 601-37; Hunter
FT, Chronic exposure to benzene (benzol). Part 2: The clinical effects. J. IND. HYG TOXICOL,
(1939):21 (8) 331-54; Mallory TB, et al., Chronic exposure to benzene (benzol).Part 3:The
pathological results. J. IND. HYG TOXICOL,(1939):21 (8) 355-93; Erf LA, Rhoads CP., The
hematological effects of benzene (benzol) poisoning. J. IND. HYG TOXICOL, (1939):21 421-35;
American Petroleum Institute, API Toxicological Review: Benzene, NEW YORK, (1948); Infante
PF, Rinsky RA, Wagoner JK, et al., Leukemia in benzene workers, LANCET, (1977);2 (8028): 76-
78.
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       31.     Benzene exposure is cumulative and additive. There is no safe level of exposure to

benzene, and all exposures constitute some risk in a linear, if not supralinear, and additive fashion.”

According to the FDA, benzene in small amounts over long periods of time can decrease the

formation of blood cells and long-term exposure through inhalation, oral intake, and skin

absorption may result in cancers such as leukemia and other blood disorders.

       32.     In 2022, the FDA issued a safety alert warning manufacturers of the risk of benzene

contamination in certain products and components.8 The FDA warned manufacturers that if any

product or component was subject to deterioration, manufacturers must have re-testing procedures

in place to ensure continued purity and stability of the degradable components. If any product in

circulation was found to have benzene over 2 ppm, the FDA directed that drug manufacturers

contact the FDA to discuss a voluntary recall.

       33.     To date, to Plaintiff’s knowledge, none of the Defendant’s products containing BPO

have been recalled due to benzene contamination.

       34.     Defendant is in the business of selling skin care products, including products under

the Equate brand to treat acne.

       35.     In 2023, Valisure tested a representative sample of BPO and non-BPO products and

found that the products formulated with BPO had dangerous levels of benzene, many multiple

times higher than allowed.9 Valisure tested the BPO Products at temperatures common during

consumer use, handling, and storage.10 Valisure’s testing revealed benzene levels as high as 1600

parts per million (ppm).11 Even more concerning, Valisure also found that benzene was released



8
  Federal Drug Administration. (Dec. 22, 2022). FDA Alerts Drug Manufacturers to the Risk of
Benzene in Certain Drugs.
9
  Valisure’s FDA Citizen’s Petition on Benzoyl Peroxide (March 6, 2024).
10
   Id.
11
   Id. at 17.
                                                  8
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into the surrounding air even when the BPO Products’ packaging was closed, raising concerns for

inhalation exposure. In the non-BPO products tested by Valisure, benzene was not present, even at

trace levels.

        36.     The high levels of benzene found in BPO acne treatment products as well as

research in academic literature dating back to 1936 demonstrating that BPO can degrade directly

into Benzene, led Valisure to conduct a stability study on a diverse market sweep of BPO products

and formulations.

        37.     Valisure tested 66 acne treatment products containing BPO, incubating them at

50°C12 for 18 days, and measuring the benzene levels at days 0, 4, 10, 14, and 18. Every product

demonstrated substantial instability of BPO and a propensity to form concerningly high levels of

benzene in only 18 days.

B.      Defendant Did Not Adequately Test Its BPO Products for Benzene.

        38.     Defendant did not adequately test its BPO Products before selling them to Plaintiff

and Proposed Class. Defendant was required to follow or ensure current good manufacturing

practices (“CGMPs”), have scientifically sound specifications, and have test procedures and

processes to ensure the safety of the BPO Products’ components (both active and inactive

ingredients) and the finished products. Both raw ingredient materials and finished batches must be

tested to confirm that they meet specifications for identity, strength, quality, and purity.13 If testing

results of either the raw materials or the finished products do not conform with the specifications,

the product cannot be sold to the public. Defendant must also re-test any BPO Products which are



12
   Valisure notes that 50°C is “not only a reasonable temperature that the product may be exposed
to during distribution and handling by consumers, but is an accepted incubation temperature used
by the pharmaceutical industry for performing accelerated stability studies with a duration of at
least 3 months.” Citizen Petition at 18-19 (internal citations and quotations omitted).
13
   21 C.F.R. § 211.84 (1978); see also 21 C.F.R. § 211.160 (1978)
                                                   9
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subject to deterioration.14

          39.   Defendant must also do stability testing to understand the “shelf life” of the BPO

Products and to assign an appropriate expiration date. It is well known that certain chemical

ingredients can degrade or change because of environmental and storage conditions, such as light,

moisture, temperature, and humidity, or simply do to the passage of time. The required stability

testing should cover all expected distributor and consumer storage, handling, and use conditions

and must be done using “reliable, meaningful, and specific test methods.”15 If stability testing finds

a drug product is not stable under expected storage or use conditions, degrades, or creates toxic

byproducts, the product cannot be sold to the public.

          40.   The CGMPs and stability test requirements are there to ensure products are safe for

public use. Therese are the minimum requirements. Because the manufacturers are self-regulated,

the FDA—and the consumers of the products— must rely on drug manufacturers, the public, and

concerned citizens to report unsafe products.

          41.   Defendant knew or should have known that the BPO in its Products degrades to

benzene. Defendant knew that, because the chemical nature of BPO is not stable and would

degrade when exposed to the environmental temperatures found in normal distributor and

consumer use, handling, and storage conditions.

          42.   The degradation of BPO to benzene over time when exposed to heat has been well

known for some time, and the process has been reported in the scientific literature as early as

1936.16




14
   21 C.F.R. § 211.160(b)(1)(1978).
15
   21 CFR 211.166.
16
   H. Erlenmeyer and W. Schoenauer, Über die thermische Zersetzung von Di-acyl-peroxyden,
HELU. CHIM. ACTA, 19, 338 (1936).
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       43.     The degradation of BPO to benzene was known or should have been known to

Defendant. Defendant knew or should have known through its own research, development,

formulation, manufacturing, and testing whether the BPO in its Products was chemically and

physically stable. Defendant was required not only to adequately test the BPO Products for safety

and stability before selling them, but also to monitor its internal practices, processes, and

specification to make sure they kept pace with science and emerging methodologies. Defendant

knew or should have known from expiration and stability studies examining the “shelf life” of the

BPO Products that the degradation of BPO to benzene took place because of normal and expected

environmental, use, and storage conditions.

       44.     Defendant knew or should have known the BPO Products would be handled, used,

and stored under various temperatures that affect chemical stability. Defendant knew or should

have known that it would distribute and sell the BPO Products in varying storage and distribution

conditions, and that the products, once sold, would be stored by consumers in handbags,

backpacks, bathrooms, showers, lockers, and in vehicles during warm months where the BPO

Products would be exposed to heat.

       45.     Defendant knew or should have known that consumers would apply the benzene

contaminated Products to their faces and bodies and would also use the BPO Products in heated

showers as scrubs and washes. Defendant knew or should have known that the BPO Products

would be used and applied to the skin at normal body temperatures, and elevated temperatures

following showers, baths, after physical activity, and after the BPO Products sat in warm

temperatures or hot vehicles.

       46.     The storage, use, and handling conditions of the BPO Products were known or

should have been known to Defendant before its Products containing BPO were sold to Plaintiff



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and Proposed Class. Defendant knew or should known that the BPO in these Products would

degrade to benzene under these conditions. Defendant further knew or should have known that,

because of the known degradation of BPO to benzene, its Products with BPO were contaminated

with benzene by the time they reached consumers, but they sold them to Plaintiff and Proposed

Class anyway and without any warning of the benzene contained within them.

          47.   In 2020, the FDA started working with companies to identify benzene in products,

which resulted in product recalls of hand sanitizers, sunscreens, and deodorants. Defendant were

aware or should have been aware of benzene contamination in other BPO products on the market

when they marketed and sold its BPO Products to Plaintiff and Proposed Class, but did not test the

BPO Products for benzene contamination.

C.        Defendant exposed Plaintiff and Proposed Class to Benzene without their
          knowledge or consent.

          48.   Despite the fact that its BPO Products contain benzene, Defendant did not list

benzene among the Product’s ingredients, on the BPO Products’ label or container, or anywhere in

their advertising or on their websites. Defendant did not—and still does not, to Plaintiff’s

knowledge—warn that the BPO Products contain benzene, are at risk of benzene contamination,

or that the product could cause consumers to be exposed to benzene even while the product remains

sealed.

          49.   As noted above, benzene is a known human carcinogen which is heavily regulated

to protect human health, and should not be in drug products, especially ones such as acne treatment

which are used daily by children and teenagers for many years. FDA specifically prohibits benzene

from being used to make products because any “benefit” it may impart is vastly outweighed by its

toxicity and harmful environmental effects. FDA allows one exception to this otherwise blanket

prohibition, and that is when the use of benzene in a product is unavoidable, and the product has

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significant therapeutic advantages for the consumer. Even in that rare instance, benzene in a

product is restricted to 2 ppm. Defendant’s acne treatment products do not meet this rare exception.

       50.     Plaintiff and Proposed Class were exposed to benzene from Defendant’s BPO

Products through inhalation and dermal absorption. Benzene can be absorbed into the body via

inhalation, skin absorption, ingestion, and/or eye contact. Plaintiff and the Class applied

Defendant’s BPO Products to areas of the skin including face, neck, chest, and back one to three

times per day, and used the BPO Products as washes or scrubs in heated showers. Plaintiff and the

Class were also exposed to benzene leaked from contaminated BPO Products.

       51.     Defendant represented to the Plaintiff and Proposed Class that each of its BPO

Products had only the ingredients listed on the label and package, but failed to identify benzene

anywhere on the BPO Products’ label, container, or packaging.

       52.     Defendant’s statements about the BPO Products’ ingredients were false, deceptive,

and misleading. Defendant’s statements were meant to convey to Plaintiff and Proposed Class the

message that the BPO Products were safe and did not contain carcinogens, such as benzene.

Defendant made these statements and omitted benzene from all advertising, labeling, and

packaging when they knew or should have known the statements were false, misleading, and

deceptive. Reasonable consumers, relying on Defendant’s statements reasonably believed the BPO

Products were safe and did not contain benzene.

G.     Punitive Damages Allegations.

       53.     Defendant’s conduct was done with malice and reckless disregard for human life.

Defendant knew the BPO Products degraded to benzene when exposed to heat under normal

consumer use, handling, and storage conditions. Defendant further knew that benzene is a known

human carcinogen that is not supposed to be in the BPO Products due to the grave risk of harm to



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consumers. Defendant disregarded this information and the known risks of benzene exposure and

deliberately omitted benzene from the list of ingredients, the BPO Products’ labels, and its social

media and websites where information about the BPO Products may be found. Defendant

consciously and deliberately crafted the BPO Products’ marketing, labels, packaging, containers,

and warnings intending to mislead Plaintiff and Proposed Class to believe the BPO Products were

safe and carcinogen-free.

       54.     Defendant was on notice of benzene findings in consumer and drug products

leading to widely publicized recalls. Defendant was on notice of the FDA’s concerns of benzene

contamination in drug and consumer products and received, or should have been aware of, the

FDA’s 2022 directive to test Products for benzene contamination. Defendant disregarded these

notices and continued to market and sell the BPO Products without testing them for benzene.

       55.     Defendant knew its decisions and chosen course of conduct was risky and would

cause consumers to be exposed to benzene. Defendant’s’ conduct was not by accident, but was

deliberate, calculated, and informed. Defendant knew they could sell more BPO Products and earn

more money by concealing material human health and safety information. Defendant further knew

that testing the BPO Products for benzene would yield findings of benzene requiring recalls and/or

a shutdown of production causing significant losses of income. Defendant’s conduct and

concealment of material health information was done to further its own monetary gain and with

conscious disregard of the Plaintiff and Proposed Class. Defendant’s conduct was intentional,

calculated, blatantly deceptive, unscrupulous, and offensive to consumer health and public policy.

       56.     To redress the harms caused by Defendant’s conduct, Plaintiff and Proposed Class

seek punitive damages against the Defendant.

                            PLAINTIFF-SPECIFIC ALLEGATIONS



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        57.     Plaintiff Emily Sanderlin, for her personal use, purchased Defendant’s BPO

Products in Darlington County, South Carolina for many years, including within the last year. She

has suffered economic damages as a result of Defendant’s breaches and wrongful conduct, as

alleged, including (but not limited to) its violations of the consumer protection laws alleged herein.

Plaintiff Sanderlin never would have purchased Defendant’s BPO Products had Defendant warned

about the presence of benzene or that its products could degrade into benzene.

        58.     The Plaintiff and the Proposed Class have suffered an ascertainable economic loss

because of Defendant’s statements and misrepresentations in that they would not have purchased

the BPO Products had they known of the benzene contained in them, information which the

Defendant knew, or could and should have known, and either rectified or disclosed.

        59.     Prior to filing this Complaint, Plaintiff Sanderlin, for herself and for the Proposed

Class, served notice on the Defendant that it had breached warranties associated with its BPO

Products, and that it had done so for the reasons alleged in this Complaint.

        60.     Plaintiff Sanderlin brings these claims for herself and for Class of similarly situated

persons in South Carolina who purchased the BPO Products in South Carolina.

                EQUITABLE TOLLING OF STATUTES OF LIMITATIONS,
                        CONCEALMENT, AND ESTOPPEL

        61.     Each purchase of a BPO Product constitutes a separate act that triggers anew the

relevant statute of limitations.

        62.     Additionally, any applicable statutes of limitation have been tolled by (1) the

delayed discovery doctrine, as Plaintiff and the putative class members (defined below) did not

and could not—through no fault or lack of diligence—reasonably have discovered Defendant’s

conduct alleged herein until shortly before the filing of this Complaint; and (2) the fraudulent

concealment doctrine due to Defendant’s knowing, purposeful, and active concealment and denial

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of all facts alleged herein including but not limited to its knowledge that the BPO contained in its

Products degrades to benzene.

       63.      Defendant had exclusive knowledge that its BPO Products contained benzene and

deceptively marketed its BPO Products to Plaintiff, members of the Class, and the public.

       64.      Under the circumstances, Defendant had a duty to disclose the nature, significance,

and consequences of the benzene contained in its BPO Products. Accordingly, Defendant is

estopped from relying upon any statute of limitations.

                               CLASS ACTION ALLEGATIONS

       65.      Plaintiff brings this case on behalf of herself and all others similarly situated as a

Class Action under Rule 23 of the Federal Rules of Civil Procedure. Plaintiff seeks to represent a

Class of South Carolinians who bought Defendant’s BPO Products in South Carolina for their

personal use.

       66.      The Class does not seek damages for physical injuries, although each Plaintiff was

physically harmed by being exposed to benzene.

       67.      This is the definition of the Class: All persons in South Carolina who bought, for

personal use and not resale, the BPO Products of the Defendant within South Carolina.

       68.      Excluded from this Class are Defendant, its employees, co-conspirators, officers,

directors, legal representatives, heirs, successors, and affiliated companies; Class counsel and their

employees; and the judicial officers assigned to the case, including their assigned or appointed

staff and their immediate families.

       69.      This action has been brought and may be properly maintained as a Class Action

under Rule 23 of the Federal Rules of Civil Procedure because there is a well-defined community

of interest and the proposed Class meets the class action requirements under Rule 23 of numerosity,



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commonality, typicality, and adequacy of representation.

       70.      Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff, on behalf of herself, and the other Class members. Similar or

identical statutory and common law violations, business practices, and injuries are involved.

       71.      Numerosity. Plaintiff believes there are thousands of Class members in South

Carolina, making the Class so numerous and geographically dispersed that joinder of all members

is inconvenient and impracticable.

       72.      Commonality. There are questions of law and fact common to all Class members

that predominate over questions which affect only individual Class members. All Class members

were deceived and misled by Defendant through the same advertising, online representations,

labeling, and packaging, which do not mention benzene and misrepresent the characteristics,

ingredients, and safety of the BPO Products. All Class members bought Defendant’s BPO Products

and have suffered an economic loss because of Defendant’s deceptions, omissions, and breaches

of warranties and statutory law. Thus, there is a well-defined community of interest in the questions

of law and facts common to all Class members. Other common questions of law and fact in this

dispute include, without limitation:

             a. Whether Defendant’s BPO Products degrade to benzene under common conditions

                of distribution, retail sale, and consumer handling, use, and storage.

             b. Whether Defendant tested the BPO Products for benzene before selling them to

                Plaintiff and Proposed Class.

             c. When Defendant knew or should have known the BPO Products degraded to

                benzene.

             d. When Defendant knew or should have known the BPO Products contain benzene.



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             e. Whether Defendant’s advertising, labeling included, omitting benzene was

                  deceptive, fraudulent, or unfair.

             f.   Whether Defendant’s advertising omitting benzene was likely to deceive

                  reasonable consumers.

             g. Whether Defendant’s conduct violated the statutory consumer protection law of

                  South Carolina.

             h. Whether Defendant breached the express and implied warranties for its BPO

                  Products.

             i. Whether Defendant was unjustly enriched by purchases of the BPO Products by

                  Plaintiff and Proposed Class.

             j. Whether Plaintiff and Proposed Class have been injured and if so, what is the proper

                  measure of damages.

             k. Whether Plaintiff and Proposed Class have the right to economic damages

                  including compensatory, exemplary, and statutory remedies for Defendant’s

                  misconduct.

             l. Whether Plaintiff and Proposed Class have the right to injunctive, declaratory, or

                  other equitable relief and attorneys’ fees.

       73.        Typicality. Plaintiff’s claims are typical of the claims of the Class because the

claims arise from the same course of misconduct by Defendant, i.e., Defendant’s false and

misleading advertising and its failure to disclosure benzene in the BPO Products. The Plaintiff and

Proposed Class were all exposed to the same uniform and consistent advertising, labeling, and

packaging statements Defendant made about the BPO Products. Because of the Defendant’s

misconduct, Plaintiff and Proposed Class were damaged and have incurred economic loss because



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of buying the BPO Products believed to be safe.

       74.      Adequacy.       The Plaintiff will fairly and adequately represent and protect the

interests of all Class members. Plaintiff has no interests antagonistic to the Class. Plaintiff hired

attorneys experienced in the prosecution of consumer Class Actions, and Plaintiff intends to

prosecute this action vigorously. Plaintiff anticipates no difficulty in the management of this

litigation as a Class Action.

       75.     Superiority. Finally, this Class Action is proper under Rule 23(b) because, under

these facts, a Class Action is superior to other methods and is the most efficient method for the fair

and efficient adjudication of the dispute. The Class has suffered economic damages because of

Defendant’s deceptive trade practices, false advertising, and omissions of material health and

safety information. Because of the nature of the claims and the cost of the BPO Products, few, if

any individuals, would seek legal redress against Defendant because the costs of litigation would

far exceed any potential economic recovery. Absent a Class Action, individuals will continue to

suffer economic losses for which they would have no remedy, and Defendant will unjustly continue

its misconduct with no accountability while retaining the profits of its ill-gotten gains. Even if

separate cases could be brought by individuals, the resulting multiplicity of lawsuits would cause

undue hardship, burden, and expense for the Court and the litigants, as well as create a risk of

inconsistent rulings across the country, which might be dispositive of the interests of individuals

who are not parties. A Class Action furthers the important public interest of containing legal

expenses, efficiently resolving many claims with common facts in a single forum simultaneously,

and without unnecessary duplication of effort and drain on critical judicial resources. The Class

Action method presents far fewer management difficulties than individual cases filed nationwide

and provides the benefit of comprehensive supervision by a single court.



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                                     CAUSES OF ACTION

                      COUNT I: BREACH OF EXPRESS WARRANTY

       76.     Plaintiffs realleges and incorporates all other paragraphs in this Complaint and

further alleges:

       77.     Plaintiff, and each member of the Class, formed a contract with Defendant at the

time Plaintiff and the other Class Members purchased the BPO Products. The terms of the contract

include the promises and affirmations of fact made by Defendant on the BPO Products’ packaging

and through marketing and advertising, specifically that the BPO Products were safe to use and

did not contain any benzene. This labeling, marketing, and advertising constitute express

warranties and became part of the basis of the bargain, and are part of the standardized contract

between Plaintiff and members of the Class on the one hand and Defendant on the other hand.

       78.     Defendant expressly warranted that its BPO Products were fit for ordinary use, were

merchantable, and were not misbranded. Defendant’s express warranties were reflected in each

BPO Product’s labeling, promotions, and marketing material, all of which uniformly identified

BPO as the active ingredient and none of them identified benzene as an ingredient in Defendant’s

products. Defendant’s product labeling and other materials were required to be truthful, accurate,

and non-deceptive, but this was not the case as Defendant failed to disclose Plaintiff and members

of the Class that its BPO Products contained benzene.

       79.     At all times relevant South Carolina has codified and adopted the provisions of the

Uniform Commercial Code. S.C. Code Ann. § 36-2-313 (Uniform Commercial Code § 2-313)

provides that an affirmation of fact or promise made by the seller to the buyer which relates to the

goods and becomes part of the basis of the bargain creates an express warranty that the goods shall

conform to the promise. Defendant sold the BPO Products as safe, pure, of good quality, and only



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containing the listed ingredients. Defendant’s advertising, labels, containers, packaging,

advertising, and online statements did not mention benzene, leading consumers to believe the BPO

Products were safe for their ordinary use. Defendant’s affirmations were uniformly made to

Plaintiff and Class by Defendant in the BPO Products’ advertising, labeling, packaging, and online

statements and were part of the basis of the bargain between Defendant and the Plaintiff and Class.

       80.     Defendant’s affirmations and promises are unlawful. When Defendant marketed,

distributed, and sold the BPO Products, Defendant knew, or should have known, the BPO Products

degraded to benzene under normal and expected use, handling, and storage conditions. Defendant

knew, or should have known, the BPO Products formed benzene and therefore did not conform to

Defendant’s express representations and warranties to consumers. Plaintiff, the Class, and Subclass

members purchased the BPO Products in reasonable reliance on Defendant’s statements.

       81.     Defendant breached its express warranty because Defendant’s BPO Products were

not of merchantable quality, not fit for the product’s ordinary purpose, and did not conform to the

standards generally applicable to such goods.

       82.     Plaintiff has provided Defendant with notice of its breach of warranty on behalf of

herself and all others similarly situated.

       83.     Plaintiff and members of the Class were reasonably expected purchasers of the

misbranded and deceptively labeled BPO Products.

       84.     Because of Defendant’s misconduct and breach of the express warranty, Plaintiff,

for herself and the Class, seeks recovery of economic damages, attorneys’ fees, punitive damages,

restitution, and all other relief allowable by law, including an injunction to enjoin Defendant from

continuing its fraudulent business practices. The damages sought are ascertainable, uniform to the

Class and can be measured and returned to the Class members.



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                       COUNT II: BREACH OF IMPLIED WARRANTY

       85.       Plaintiff realleges and incorporates all other paragraphs in this Complaint and

further alleges:

       86.       Plaintiff, and each member of the Class, formed a contract with Defendant at the

time Plaintiff and the other Class Members purchased the BPO Products. The terms of the contract

include the promises and affirmations of fact made by Defendant on the BPO Products’ packaging

and through marketing and advertising, specifically that the BPO Products were safe to use and

did not contain any benzene. This labeling, marketing, and advertising constitute express

warranties and became part of the basis of the bargain, and are part of the standardized contract

between Plaintiff and members of the Class on the one hand and Defendant on the other hand.

       87.       At all times relevant South Carolina has codified and adopted the provisions of the

Uniform Commercial Code (“UCC”). Defendant is a merchant within the meaning of the UCC.

       88.       Defendant’s BPO Products constitute “goods” or the equivalent under the UCC.

Defendant placed its BPO Products in sealed packaging or other closed containers and placed them

on the market.

       89.       Defendant, as sellers of the BPO Products, made implied warranties including

warranting the BPO Products were of the same quality and purity represented on the labels, in

advertising, and on Defendant’s websites and in advertising. Defendant represented the BPO

Products were fit for the ordinary purpose and conformed to the promises made on the containers,

labels, advertising, and websites that all ingredients were listed, and all warnings given.

       90.       Defendant advertised its BPO Products as safe, when it knew, or should have

known, the BPO Products degraded to benzene. Defendant did not list benzene as an ingredient or

contaminant anywhere on the BPO Products or advertising. The BPO Products are not of the



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quality and purity represented by Defendant because the BPO Products degrade to benzene under

normal use, handling, and storage conditions.

       91.     Defendant breached its implied warranty because Defendant’s BPO Products were

not of merchantable quality, not fit for the product’s ordinary purpose, and did not conform to the

standards generally applicable to such goods.

       92.     Plaintiff has provided Defendant with notice of its breach of warranty on behalf of

herself and all others similarly situated.

       93.     Defendant did not tell Plaintiff or any Class member the BPO Products were not fit

for their ordinary use because the BPO Products, as advertised and sold by Defendant, degraded

to benzene under normal and expected handling, use, and storage.

       94.     Defendant’s affirmations that the BPO Products were safe for use were uniformly

made to the Plaintiff and Class in the BPO Products' advertising, labeling, and packaging, and on

Defendant’s websites, which were part of the basis of the bargain.

       95.     Plaintiff and the Class purchased the BPO Products in reasonable reliance on

Defendant’s statements, affirmations, and omissions of material health and safety information.

       96.     Defendant’s BPO Products did not fulfill their intended purpose as, instead of

purchasing a safe treatment for acne, Plaintiff and members of the Class received products

containing benzene, a dangerous human carcinogen.

       97.     Defendant’s implied warranties were reflected in each BPO Product’s labeling,

promotions, and marketing material, all of which uniformly identified BPO as the active ingredient

and none of them identified benzene as an ingredient in Defendant’s products. Defendant’s product

labeling and other materials were required to be truthful, accurate, and non-deceptive, but this was

not the case as Defendant failed to disclose to Plaintiff and members of the Class that its BPO



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Products contain benzene.

       98.     Plaintiff and the Class were the intended beneficiaries of any promises,

affirmations, or warranties made by Defendant concerning the BPO Products, as they were the

purchasers and end users of Defendant’s BPO Products.

       99.     Defendant’s acts and omissions are ongoing and continue to cause harm.

       100.    As a direct and proximate result of Defendant’s misconduct, Plaintiff, for herself

and the Class, seeks recovery of actual damages, injunctive relief, attorneys’ fees, punitive

damages, and all other relief allowable under the law. The damages sought are uniform to the

Class, and the actual damages can be measured and returned to consumers who bought Defendant’s

BPO Products for personal use.

                                 COUNT III: UNJUST ENRICHMENT

       101.    Plaintiff realleges and incorporates all other paragraphs in this Complaint and

further alleges:

       102.    Defendant has unjustly profited from its deceptive business practices and kept the

profits from Plaintiff and the Class, who purchased the BPO Products.

       103.    Defendant requested and received a measurable economic benefit at the expense of

Plaintiff and the Class as payment for the BPO Products. Defendant accepted the economic

benefits knowing the economic benefit received was based on deception and omission of material

human health and safety information.

       104.    There is no utility in Defendant’s misconduct and Defendant’s enrichment from the

misconduct is unjust, inequitable, unconscionable, and it is against the strong public policy to

protect consumers against fraud.

       105.    Because of Defendant’s misconduct, Plaintiff, for herself and the Class, seeks



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recovery of actual damages, disgorgement of profits, injunctive relief, attorneys’ fees, punitive

damages, and all other relief allowable under the law. The damages sought are uniform to the

Class, and the actual damages can be measured and returned to consumers who bought Defendant’s

BPO Products for personal use.

                                        COUNT IV: FRAUD

          106.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          107.   Defendant affirmatively misrepresented material facts, including, inter alia, the fact

that that its BPO Products contain benzene.

          108.   Defendant omitted material facts including, inter alia, that its BPO Products

contain benzene.

          109.   Defendant’s actions had the effect of fraudulently inducing customers—including

Plaintiff and members of the Class—to pay for Defendant’s BPO Products, which Defendant knew

or should have known contained a human carcinogen, benzene, and were misbranded. Plaintiff and

members of the Class would not have purchased Defendant’s BPO Products had they known the

truth. Indeed, Plaintiff and members of the Class could not have purchased Defendant’s BPO

Products, because the benzene in them renders them illegal as distributed and sold.

          110.   Defendant knowingly, or at least recklessly, represented that its BPO Products did

not contain benzene through labeling, marketing, advertising, and promotion.

          111.   Defendant knew, or reasonably should have known, that its misrepresentations were

materially false or misleading, or that the omission of material facts rendered such representations

false or misleading.

          112.   Defendant knew, or had reason to know, that its misrepresentations and omissions



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would induce Plaintiff and members of the Class to purchase Defendant’s BPO Products.

       113.    Defendant’s misrepresentations and omissions were material.

       114.    Defendant actively concealed its misrepresentations and omissions from Plaintiff

and members of the Class.

       115.    Defendant intended its misrepresentations and omission to induce Plaintiff and

members of the Class to purchase Defendant’s BPO Products.

       116.    But for these misrepresentations and omissions, Plaintiff and members of the Class

would not have purchased Defendant’s BPO Products.

       117.    To the extent applicable, Plaintiff and members of the Class were justified in relying

on Defendant’s misrepresentations and omissions. The same or substantively identical

misrepresentations and omissions were communicated to each member of the Class through, inter

alia, product labeling and packaging, as well as Defendant’s marketing and promotional material.

No reasonable consumer would have purchased Defendant’s BPO Products but for Defendant’s

unlawful conduct. To the extent applicable, reliance may be presumed in these circumstances.

       118.    Plaintiff and members of the Class were damaged by reason of Defendant’s

misrepresentations and omissions alleged herein.

       119.    Defendant intended its misrepresentations or omissions to induce Plaintiff and

members of the Class and Subclasses to purchase Defendant’s BPO Products, or it had reckless

disregard for the same.

       120.    As a direct and proximate result of Defendant’s acts and omissions described

herein, Plaintiff and members of the Class have suffered harm and will continue to do so.

       121.    Defendant’s misrepresentations or omissions were material and a substantial factor

in the decision of Plaintiff and members of the Class to purchase Defendant’s BPO Products.



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          122.   Defendant intended its misrepresentations or omissions to induce Plaintiff and

members of the Class to purchase its BPO Products or had reckless disregard for same.

          123.   But for these misrepresentations (or omissions), Plaintiff and members of the Class

would not have made purchases of Defendant’s BPO Products.

          124.   To the extent applicable, Plaintiff and members of the Class were justified in relying

on each of Defendant’s misrepresentations and omissions. The same or substantively identical

misrepresentations and omissions were communicated to each member of the Class through, inter

alia, product labeling and packaging, as well as Defendant’s marketing and promotional material.

No reasonable consumer would have purchased Defendant’s BPO Products but for Defendant’s

unlawful conduct. To the extent applicable, reliance may be presumed in these circumstances.

          125.   Plaintiff and members of the Class were damaged by reason of Defendant’s

misrepresentations or omissions alleged herein.

             COUNT V: NEGLIGENT MISREPRESENTATION AND OMISSION

          126.   Plaintiff realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          127.   Defendant had or undertook a duty to accurately represent the ingredients of its

BPO Products.

          128.   Defendant failed to exercise ordinary care in making representations (or in failing

to disclose facts) concerning the ingredients of its BPO Products.

          129.   Defendant negligently misrepresented or omitted facts regarding the ingredients of

its BPO Products.

          130.   Defendant’s misrepresentations or omissions regarding the ingredients of its BPO

Products occurred in the products’ labeling and packaging as well as in the marketing and



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promotional material for its BPO Products.

          131.   Defendant’s statements were false at the time the misrepresentations were made (or

at the time omissions were not made).

          132.   Defendant knew, or reasonably should have known, that its representations alleged

herein were materially false or misleading, or that omissions of material facts rendered such

representations false or misleading. Defendant also knew, or had reason to know, that its

misrepresentations and omissions would induce Plaintiff and the members of the Class to purchase

its BPO Products.

    COUNT VI: VIOLATIONS OF STATUTORY CONSUMER PROTECTION LAW

          133.   Plaintiff realleges and incorporates the preceding paragraphs as if fully set forth

herein.

          134.   Defendant violated South Carolina’s consumer protection statute by engaging in

unfair competition or unfair or deceptive acts or practices proscribed and punishable by S.C. Code

Laws § 39-5-10, et seq.;

          135.   Defendant’s conduct constitutes trade or commerce or other actionable activity

within the meaning of the above statute.

          136.   Plaintiff and members of the Class are consumers or person aggrieved by

Defendant’s misconduct within the meaning of the above statute.

          137.   Defendant’s conduct as alleged herein—to wit, knowingly concealing or failing to

disclose the presence of benzene in its BPO Products—constitutes unfair, deceptive, misleading,

or otherwise actionable practices as to Defendant’s conduct concerning the presence of benzene in

its BPO Products.

          138.   If and to the extent required, Plaintiff has provided Defendant with notice of her



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claim for herself and all others similarly situated.

       139.    To the extent applicable, Plaintiff and members of the Class were justified in relying

on Defendant’s misrepresentations and omissions. The same or substantively identical

misrepresentations and omissions were communicated to each member of the Class through, inter

alia, product labeling and packaging, as well as Defendant’s marketing and promotional material.

No reasonable consumer would have purchased Defendant’s BPO Products but for Defendant’s

unlawful conduct. To the extent applicable, reliance may be presumed in these circumstances.

       140.    As a direct and proximate result of Defendant’s unfair methods of competition and

unfair or deceptive acts or practices, Plaintiff and members of the Class seek recovery of their

economic damages, attorneys’ fees, punitive damages, restitution, and all other relief allowable by

law, including an injunction to enjoin Defendant from continuing its fraudulent business practices.

The damages sought are ascertainable, uniform to the Class and can be measured and returned to

the Class members.

                                     PRAYER FOR RELIEF

       For these reasons, Plaintiff prays for the following judgment:

       A.      An order certifying this action as a class action;

       B.      An order appointing Plaintiff as Class Representative, and appointing undersigned

       counsel as Class Counsel to represent the Class;

       C.      A declaration that Defendant is liable under each and every one of the above

       enumerated causes of action;

       D.      An order awarding appropriate preliminary and/or final injunctive relief against the

       conduct of Defendant described above;

       E.      Payment to Plaintiff and Class Members of all damages, exemplary or punitive



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 damages, and/or restitution associated with the conduct for all causes of action in an

 amount to be proven at trial, including but not limited to the full amounts paid for the BPO

 Products; and/or the costs to replace or return the BPO Products;

 F.     An award of attorneys’ fees, expert witness fees, and costs, as provided by

 applicable law and/or as would be reasonable from any recovery of monies recovered for

 or benefits bestowed on the Class Members;

 G.     An award of statutory penalties to the extent available;

 H.     Interest as provided by law, including but not limited to pre-judgment and post

 judgment interest as provided by rule or statute; and

 I.     Such other and further relief as this Court may deem just, equitable, or proper.

 Respectfully submitted,

                               /s/ T. Ryan Langley
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                               /s/ Christopher B. Hood
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                               (application for admission
                               pro hac vice to be filed)
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                               Attorneys for Plaintiff and Proposed Class

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                          DEMAND FOR JURY TRIAL

 The Plaintiff hereby demands a trial by jury on all Counts and as to all issues.

                                       /s/ T. Ryan Langley




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